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 4
     Attorney for Defendant
 5   NORMAN MOLYNEUX
 6
 7                               UNITED STATES DISTRICT COURT
 8                               EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,        )            Case No. 1: 04-CR-05244 OWW
                                      )
11          Plaintiff,                )            APPLICATION FOR ORDER EXONERATING
                                      )            BOND AND FOR RECONVEYANCE OF
12               v.                   )            REAL PROPERTY AND ORDER THEREON
                                      )
13   NORMAN MOLYNEUX,                 )
                                      )
14          Defendant.                 )            HONORABLE OLIVER W. WANGER
     _________________________________)
15
16           John F. Garland, counsel for NORMAN MOLYNEUX, deceased, hereby moves the
17   Court for an order exonerating the bond and for reconveyance of the real property in the above
18   captioned case.
19           On or about September 17, 2004 defendant Norman Molyneux was arrested pursuant to a
20   Warrant of Arrest issued by this Court for charges in the above captioned case. On January 12,
21   2005 United States Magistrate Judge Dennis L. Beck ordered the release of Mr. Molyneux,
22   setting conditions of pretrial supervision, and the posting of a $225,000 property bond. On or
23   about February 2, 2005 all property bond documents were submitted to the United States
24   Attorney’s Office for review and approval. On or about February 4, 2005 a Straight Note
25   (Secured By Deed Of Trust) in the amount of $225,000, and a Deed of Trust were delivered to
26   the Clerk of the Court by Lee Mariano, and Norman Molyneux was released from custody that
27   date.
28           Between February 4, 2005 and November 1, 2006 Norman Molyneux appeared before


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 1   this Court on numerous occasions. On or about November 9, 2006 Norman Molyneux died in
 2   Riverside County, California. The death of Norman Molyneux has been confirmed by agents and
 3   representatives of the United States of America.
 4          In light of the death of Norman Molyneux, John F. Garland, as his counsel of record,
 5   hereby requests the Court exonerate the bond set by the Magistrate Judge and order the Clerk of
 6   the Court to reconvey title to the real property securing the property bond. Assistant United
 7   States Attorney Stanley A. Boone does not oppose this application
 8
 9 Dated: March 2, 2007                                     Respectfully submitted,
10
                                                              /s/ John F. Garland
11                                                              John F. Garland
                                                             Attorney for defendant
12                                                          NORMAN MOLYNEUX
                                                                   (deceased)
13
14
                                         ORDER
15
16          IT IS HEREBY ORDERED that the property bond posted by LEE MARIANO, secured
17 by the real property located in Moreno Valley, Riverside County, California, is exonerated and
18 the Clerk of the Court is directed to reconvey to LEE MARIANO, the Deed of Trust recorded on
19 February 1, 2005 in the Riverside County Recorder as Document No. 2005-0088825.
20
21 IT IS SO ORDERED.
22 Dated: March 6, 2007                               /s/ Oliver W. Wanger
   emm0d6                                        UNITED STATES DISTRICT JUDGE
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